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IN THE UNITED STATES DISTRICT cOUx%T ‘|"'_"W"
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FOR THE EASTERN DISTRICT oF vIRGIN;A l l\ " ~"'W
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NORFOLK DIvISION j C' -'-”*_T

UNITED STATES OF AMERICA

v. Case No. vL-Vl Y*'D §¢5
Court Date: December 20, 2017
ILGA SLOSBERGA

CRIMINAL INFORMATION

 

(Misdemeanor)-Violation NO. 7342030

THE UNITED STATES ATTORNEY CHARGES:

That on or about September 22, 2017, at the Navy Exchange at
Naval Station Norfolk, Virginia, in the Eastern DiStrict of Virginia,
the defendant, ILGA SLOSBERGA, did willfully and knowingly Steal and
purloin property of the United States of a Value less than $1,000.00.

(In violation of Title 18, United States Code, Section 641.)

Respectfully Submitted,

Dana J. Boente
United States Attorney

By= (LW 31 691

ames T. Cole

Special ASSiStant U.S. Attorney
Office of the U.S. Attorney

101 West Main Street, Suite 8000
Norfolk, VA 23510

Ph: (757) 441-6712

Fax:(757) 441-3205
JameS.Cole@uSdoj.gov

 

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CERTIFICATE OF MAILING

 

I hereby certify that on the date indicated below, l Caused a
true and Correot Copy of the foregoing Criminal Information to be
mailed, postage prepaid, to the defendant in the above-styled case.

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Fgmes T. Cole

Special Assistant U.S. Attorney
Office of the U.S. Attorney

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Date

 

 

 

